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IN THE UNITED STATES olsTRICT CoURT ""d: D.C.
FoR THE WESTERN DISTRJCT oF TENNESSEE 95 JUH 29 P
WESTERN DIVISION H
§CBE'WH *"-'- .'3; . .,
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UNITED STATES OF AMERICA

Plaintiff,
VS CR. NO. O4-204l4-Ma
CARLOS HOGANS,

Defendant.

 

ORDER ON CONTII\TUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause was set for a report date on January 27, 2005, at which
defendant failed to appear. Defendant has been arrested in the Western
District of Texas and now has a case pending in federal court in San
Antonio, Texas. Counsel for the government has filed a motion to exclude
time in this case.

The Court granted, the motion. and. continues the trial date to
September 6, 2005, at 9:30 a.m. with a report date of August 26, 2005,
at 2:00 p.m.

The period from January 27, 2005, through September 16, 2005, is
excluded under 18 U.S.C. § Bl6l(h)(l)(D) to allow for delay resulting
from trial with respect to other charges, 18 U.S.C. § 3161(h)(1)(G) to

allow for delay resulting from.any proceeding relating to the removal of

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the defendant from another district, and 18 U.S.C. § 3l6l(h)(3)(A) to
allow for delay' resulting from the defendant's absence from this
district.

IT IS SO ORDERED this the r]*('day of June, 2005.

J///M-'

SAMUEL H. MAYS, JR.
U`NITED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 67 in
case 2:04-CR-20414 Was distributed by faX, mail, or direct printing on
June 21 , 2005 to the parties listed.

 

 

Mary Catherine .1 ermann
FEDERAL PUBLIC DEFENDER
200 .1 efferson Ave.

Ste. 200

1\/lemphis7 TN 38103

April Rose Goode

FEDERAL PUBLIC DEFENDER
200 .1 efferson Ave.

Ste. 200

1\/lemphis7 TN 38103

Sheila D. Brown

LAW OFFICE OF SHEILA D. BROWN
9160 Highway 64

Ste. 12

Lakeland7 TN 38002

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

